Case: 1:17-md-02804-DAP Doc #: 1964-75 Filed: 07/23/19 1 of 7. PageID #: 165871




                              EXHIBIT 287
Case: 1:17-md-02804-DAP Doc #: 1964-75 Filed: 07/23/19 2 of 7. PageID #: 165872
Case: 1:17-md-02804-DAP Doc #: 1964-75 Filed: 07/23/19 3 of 7. PageID #: 165873
Case: 1:17-md-02804-DAP Doc #: 1964-75 Filed: 07/23/19 4 of 7. PageID #: 165874
Case: 1:17-md-02804-DAP Doc #: 1964-75 Filed: 07/23/19 5 of 7. PageID #: 165875
Case: 1:17-md-02804-DAP Doc #: 1964-75 Filed: 07/23/19 6 of 7. PageID #: 165876
Case: 1:17-md-02804-DAP Doc #: 1964-75 Filed: 07/23/19 7 of 7. PageID #: 165877
